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Case 4:23-cv-00609-BJ Document 1-15 Filed 06/15/23                Page 4 of 13 PageID 353




~ CADENCE
 ~      Bank

                                         March 2, 2023

By Certified Mail CRR, Regular Mail
and Email

BRIDGELINK ENGINEERING, LLC
777 Main Street, Suite 2800
Fort Worth, TX 76102
Attention: Cord Johnson
cole@bcrcompanies.com

COLE WAYNE JOHNSON
1301 Old Tin Top Rd.
Weatherford, Texas 76087
cole@bcrcompanies.com

CORD HENRY JOHNSON
680 McClendon Walker Rd.
Aledo, Texas 76008
Cord@bcrcompanies.com


       Re:    Credit Agreement dated August 6, 2021 by and among BRIDGELINK
              ENGINGEERING, LLC (“Borrower”), the Lenders parties thereto (each a
              “Lender”), and CADENCE BANK formerly known as BancorpSouth Bank
              (“Administrative Agent” and a “Lender”) as amended by that certain First
              Amendment to Credit Agreement, dated as of December 22, 2021, that certain
              Second Amendment to Credit Agreement (“Second Amendment”) dated as of
              March 29, 2022, and that certain Third Amendment to Credit Agreement (“Third
              Amendment”) dated as of July 14, 2022 (as so amended and as may from time to
              time be further amended, restated or otherwise modified, the “Credit Agreement”);
              All terms not otherwise defined shall have the meaning set forth in the Credit
              Agreement.

Dear Sirs:

By letter dated February 8, 2023 we notified you of an occurrence of an Event of Default as a
result of your failure to make the interest payment due on December 31, 2022. Please be advised
that we have still not received that payment. You are hereby notified by the Administrative Agent
that from and after the date of this letter, the Loans bear interest at the Default Rate.
 Case 4:23-cv-00609-BJ Document 1-15 Filed 06/15/23                   Page 5 of 13 PageID 354
March 2, 2023
Page 2



In our view, the accordion feature referred to in the February 14, 2023 letter to us from your
counsel, James Key, is not relevant to the Events of Default referred to in this letter. That said, we
would be glad to discuss the accordion feature separately.

In addition to the payment default referred to in the first paragraph of this letter, there are other
Events of Default under the Credit Agreement. Some of those include the following:

   1. The failure of Borrower to provide financial projections within 60 days after the beginning
      of the Fiscal Year beginning January 1, 2023 as required by Section 6.1(g) of the Credit
      Agreement.

   2. The failure of Borrower to provide a Borrowing Base Certificate within 30 days after the
      end of the months ending November 30, 2022 and December 31, 2022 as required by
      Section 6.1(i) of the Credit Agreement.

We expect the Borrower and the Guarantors to strictly comply with the terms of the Credit
Agreement and the other Loan Documents.

Please be advised that the Lenders do not intend to extend the Maturity Date.

This correspondence constitutes formal notice (i) that the Lenders do not intend to extend the
Maturity Date, (ii) of the Events of Default referred to herein (“Existing Defaults”) and (iii) of the
action taken by Administrative Agent with respect to requiring Default Interest. In addition to the
Existing Defaults, other Events of Default or Defaults may exist and be continuing, and
Administrative Agent expressly reserves all rights, and remedies under the Loan Documents, at
law and in equity with respect thereto and otherwise.

This notice does not (A) operate as a waiver or modification of any right, remedy, power or
privilege of Administrative Agent or any Lender under any of the Loan Documents or applicable
law, all of which rights, remedies, powers and privileges are hereby reserved; (B) prejudice or
preclude any other or further exercise of any rights, remedies, powers or privileges of
Administrative Agent or any Lender under any of the Loan Documents or at law or in equity; (C)
entitle you to any other notice or demand whatsoever; (D) in any way modify, impair or release
any of your liabilities under or pursuant to any of the Loan Documents or any other liability that
you have to Administrative Agent or any Lender; (E) waive any breach or default under the Loan
Documents, whether or not known to Administrative Agent or any Lender and whether or not
stated in this letter; or (F) operate as an agreement by Administrative Agent or any Lender to
forbear from exercising any remedies available to them now or in the future.

Furthermore, any failure or delay by Administrative Agent or any Lender in enforcing its rights
and remedies under the Loan Documents, at law or in equity, or the acceptance from time to time
by Administrative Agent or any Lender of any payments or performance on account of the
obligations shall not, in any way, constitute or act as (i) a rescission or waiver of any requirements
under the Loan Documents, (ii) a modification of any of the Loan Documents, (iii) an accord or
satisfaction with respect to the entire amount of the obligations due under the Notes and the other
 Case 4:23-cv-00609-BJ Document 1-15 Filed 06/15/23              Page 6 of 13 PageID 355
March 2, 2023
Page 3



Loan Documents; or (iv) a course of dealing or course of conduct by Administrative Agent or any
Lender.

We request an in-person meeting with you to discuss these matters.

                                            Sincerely,

                                            CADENCE BANK


                                            By:
                                            Name: Michael R. Moers
                                            Title: Senior Vice President


cc:    By Certified Mail CRR Regular Mail
       and Email

       BIGHORN CONSTRUCTION AND RECLAMATION L.L.C
       777 Main Street, Suite 2800
       Fort Worth, TX 76102
       Attention: Cord Johnson
       cole@bcrcompanies.com

       BIGHORN SAND & GRAVEL LLC
       777 Main Street, Suite 2800
       Fort Worth, TX 76102
       Attention: Cord Johnson
       cole@bcrcompanies.com

       BIGHORN INVESTMENTS AND PROPERTIES, LLC
       777 Main Street, Suite 2800
       Fort Worth, TX 76102
       Attention: Cord Johnson
       cole@bcrcompanies.com

       HARRIS FINLEY BOGLE
       777 Main Street, Suite 1800
       Fort Worth, Texas 76102
       Attention: James Key
       jkey@hfblaw.com
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